Case 9:22-cv-81037-AMC Document 33 Entered on FLSD Docket 12/02/2022 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                                CASE NO. 22-81037-CIV-CANNON

  MARK KRIEGER,

         Plaintiff,
  v.

  TD BANK N.A., et al.,

        Defendants.
  _______________________________/

                      ORDER REQUIRING JOINT SCHEDULING REPORT
                       AND CERTIFICATES OF INTERESTED PARTIES 1

         The parties are directed to jointly file and sign a Joint Scheduling Report by December 22,

  2022. The Joint Scheduling Report must contain all of the information specified in Local Rule

  16.1 and come accompanied by a Joint Proposed Scheduling Order that is both attached as an

  exhibit on CM/ECF and sent in Word format via email to cannon@flsd.uscourts.gov.

         In addition, by December 22, 2022, the parties, including governmental parties, must file

  Certificates of Interested Parties and Corporate Disclosure Statements that contain a complete list

  of persons, associated persons, firms, partnerships, or corporations that have a financial interest in

  the outcome of this case, including subsidiaries, conglomerates, affiliates, parent corporations, and

  other identifiable legal entities related to a party. Throughout the pendency of the action, the

  parties are under a continuing obligation to amend, correct, and update the Certificates.




  1
    The parties must not include Judge Cannon as an interested party unless she has an interest in the
  litigation.
Case 9:22-cv-81037-AMC Document 33 Entered on FLSD Docket 12/02/2022 Page 2 of 2

                                                      CASE NO. 22-81037-CIV-CANNON


          DONE AND ORDERED in Chambers at Fort Pierce, Florida this 2nd day of December

  2022.




                                                _________________________________
                                                AILEEN M. CANNON
                                                UNITED STATES DISTRICT JUDGE

  cc:     counsel of record




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